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                                    Mr. Combs does not object to               testifying under a
pseudonym at the upcoming trial.

        Counsel will be prepared to address the differences between              and Victim-3 and
Victim-4 at tomorrow’s conference. To be clear, we continue to object to Victim-3 and Victim-4
testifying under a pseudonym, for all the reasons set forth in our opposition to the government’s
motion in limine on pseudonyms. Thank you for your consideration.

                                             Respectfully submitted,




                                             Marc Agnifilo
                                             Teny Geragos
                                             AGNIFILO INTRATER
                                             445 Park Ave., 7th Fl.
                                             New York, NY 10022
                                             646-205-4350
                                             marc@agilawgroup.com
                                             teny@agilawgroup.com

                                             Alexandra Shapiro
                                             Jason Driscoll
                                             Shapiro Arato Bach LLP
                                             1140 Avenue of the Americas, 17th Fl.
                                             New York, NY 10036
                                             (212) 257-4881
                                             ashapiro@shapiroarato.com
                                             jdriscoll@shapiroarato.com

                                             Anna Estevao
                                             SHER TREMONTE LLP
                                             90 Broad St., 23rd Fl.
                                             New York, NY 10004
                                             (212) 202-2600
                                             aestevao@shertremonte.com

 cc: government counsel (via email)




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